     Case: 1:21-cv-04630 Document #: 31 Filed: 05/17/22 Page 1 of 3 PageID #:89




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 GABRIEL PARKER (M-00416),                        )
                                                  )
                     Plaintiff,                   )
                                                  )
            v.                                    )            Case No.: 21-cv-04630
                                                  )
 CITY OF CHICAGO;                                 )            Judge Andrea R. Wood
 CARLOS CANNON (Star # 12214);                    )
 JORGE GARCIA (Star # 14895)                      )         Designated Magistrate Judge:
 JOHN SLOWINSKI (Star # 1951)                     )                 Jeffrey Cole
 JAMES PIEDRASANTA (Star # 12884)                 )
 HARACE MINNIEFILED, JR.;                         )
 UNKNOWN OFFICER 1,                               )
                                                  )
                   Defendants.                    )

     MOTION OF DEFENDANTS CARLOS CANNON, JORGE GARCIA, JOHN
  SLOWINSKI AND JAMES PIEDRASANTA TO DISMISS PLAINTIFF’S AMENDED
                COMPLAINT PURSUANT TO RULE 12(b)(6)

       NOW COME the Defendants, CARLOS CANNON, JORGE GARCIA, JOHN

SLOWINSKI and JAMES PIEDRASANTA (Collectively referred to herein as Moving

Defendants), by and through their attorneys, Francis P. Cuisnier and Edward D. Mizera, to dismiss

Plaintiff’s Complaint pursuant to Rule 12(b)(6), based upon Plaintiff’s failure to state a claim

against them upon which relief may be granted, and in support thereof states as follows:

       1.        At all times relevant here to Moving Defendants, were police officers employed by

the City of Chicago.

       2.        Plaintiff alleges that he was arrested on February 19, 2021, and that the Moving

Defendants failed to provide him with prompt medical treatment for his mental illness to prevent

him from harming himself.




                                                 1
     Case: 1:21-cv-04630 Document #: 31 Filed: 05/17/22 Page 2 of 3 PageID #:90




       3.      Plaintiff further contends that the Moving Defendants’ actions deprived him of his

rights under the Fourth and Fourteenth Amendments to the United States Constitution Pursuant to

42 U.S.C. §1983.

       4.      Plaintiff’s allegations, even if true, do not state a claim upon which relief may be

granted.

       5.      In support of their Motion to Dismiss Moving Defendants submit a concurrently

filed Memorandum of Law.

       WHEREFORE, the Defendants, Carlos Cannon, Jorge Garcia, John Slowinski and James

Piedrasanta, pray that this Honorable Court dismiss the Plaintiff’s action against them, with

prejudice, with costs assessed against the Plaintiff and for any other relief that is deemed just and

equitable.



Dated this 17th day of May, 2022

                                                         Respectfully Submitted,

                                                            /s/: Francis P. Cuisinier
                                                               Francis P. Cuisinier

Francis P. Cuisinier (ARDC # 0553328)
Edward D. Mizera (ARDC # 6313516)
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                                                 2
     Case: 1:21-cv-04630 Document #: 31 Filed: 05/17/22 Page 3 of 3 PageID #:91




                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 17, 2022, I electronically filed the foregoing Motion Of
Defendant’s Carlos Cannon, Jorge Garcia, John Slowinski And James Piedrasanta To
Dismiss Plaintiff’s Amended Complaint Pursuant To Rule 12(b)(6) with the Clerk of the Court
for the United States District Court for the Northern District of Illinois by using the CM/ECF
system. I certify that all participants in the case are registered CM/ECF users and that service will
be accomplished by the CM/ECF system.
                                                                 /s/: Francis P. Cuisinier
                                                                   Francis P. Cuisinier




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